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                        Exhibit 63/TE 532A

 April 27, 2018 opinion letter for Tenaya Group, Inc. with Elaine
Dowling’s electronic signature that was attached to the email that is
                        Exhibit 62/TE 532
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                                          April 27, 2018


Board of Directors
Tenaya Group Inc.

Los Angeles, California


Re:    Registration Statement on Form S-1 for Tenaya Group Inc.,
       a Nevada corporation (the "Company")

Dear Ladies and Gentlemen:

     This opinion is submitted pursuant to the applicable rules of the Securities and Exchange
Commission with respect to the registration of 1,235,000 shares for public sale of the Company's
common stock, $.001 par value, to be sold by the existing selling shareholders.

       In connection therewith, I have examined and relied upon original, certified, conformed,
Photostat or other copies of the following documents:

       i.      The Certificate of Incorporation of the Company;
       ii.     The Registration Statement and the Exhibits thereto; and
       iii.    Such other documents and matters of law, as I have deemed necessary for the
               expression of the opinion herein contained.

       In all such examinations, I have assumed the genuineness of all signatures on original
documents, and the conformity to the originals or certified documents of all copies submitted to
me as conformed, Photostat or other copies. In passing upon certain corporate records and
documents of the Company, I have necessarily assumed the correctness and completeness of the
statements made or included therein by the Company, and I express no opinion thereon. As to the
various questions of fact material to this opinion, I have relied, to the extent I deemed reasonably
appropriate, upon representations or certificates of officers or directors of the Company and upon
documents, records and instruments furnished to me by the Company, without verification except
where such verification was readily ascertainable.




_____________________________________________________________________________________
                              8275 S. Eastern Ave. Suite 200
                                  Las Vegas, NV 89123                      EXHIBIT
                                                                                                       exhibitsticker.com




                              Email: ead@eadlawgroup.com
                                      702-724-2636
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Board of Directors
Tenaya Group, Inc.
April 27, 2018
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        Based on the foregoing, I am of the opinion that the 1,235,000 shares to be offered by the
selling shareholder dates will when sold be legally issued, fully paid and non-assessable.

        This opinion is limited to the laws of the State of Nevada and federal law as in effect on
the date of the effectiveness of this registration statement.

       I hereby consent to the filing of this opinion as an exhibit to the Registration Statement and
to the use of my name under the caption "Interests of Named Experts and Counsel" in the
prospectus comprising part of the Registration Statement.


                                              Sincerely,

                                              EAD LAW GROUP, LLC

                                              /s/ Elaine Dowling, Esq.

                                              Elaine Dowling, Esq.
EAD:kah




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